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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ANGEL SANTOS,                       )
                                    )
            Petitioner,             )
                                    )                 Civil Action No.
            v.                      )                 20-11095-FDS
                                    )
STEPHEN KENNEDY,                    )
                                    )
            Respondent.             )
                                    )
____________________________________)

                                             ORDER

SAYLOR, C.J.

       On June 8, 2020, the court received a pro se pleading written by Angel Santos, an inmate

in custody at the Old Colony Correctional Center. (Dkt. No. 1). In a handwritten pleading,

Santos challenged his conviction in the Lowell Superior Court, which he identified as case

number MICR-1281-CR00607. (Id. at 2). He contended that his constitutional rights were

violated at several stages of the proceedings. (Id.). He further stated that his state-court appeals

were denied. (Id. at 3).

       On July 28, 2020, the Court found that Santos had not filed a petition for federal habeas

corpus relief pursuant to 28 U.S.C. § 2254 and his pleading did not include sufficient information

to be construed as a petition. (Dkt. No. 3, at 2). The Court explained that, among other things, it

was unclear from the pleading what grounds he sought to raise as a basis for relief. (Id.).

       The Court ordered Santos to complete, sign, and return a petition under 28 U.S.C. § 2254,

including completing all sections of the habeas petition form and identifying the civil action
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number assigned to this case. (Id.). The Court warned that failure to comply with that directive

within 35 days “may result in dismissal of this action without prejudice.” (Id.).

        On August 5, 2020, Santos filed a new petition under 28 U.S.C. § 2254 on the

appropriate form. (Dkt. No. 4). In that petition, he asserted four grounds for relief. (Id. at 6-12).

The nature of one of the grounds—Ground Three—is unclear from his petition, and he conceded

that he did not exhaust his state remedies on Ground Three. (Id. at 9). Further, he did not state

the relief he requests. (Id. at 16).

        On September 17, 2020, respondent moved for an order directing Santos to comply with

Rule 2(c). (Dkt. No. 10). Specifically, respondent requests that he be required to clarify Ground

Three or, in the alternative, dismiss Ground Three as unexhausted and proceed with any

exhausted claims. (Id. at 5). Respondent requests 30 days from the filing of the conforming

petition to file an answer or responsive pleading. (Id.).

        Respondent’s motion is GRANTED. It is hereby ORDERED:

        1.       If petitioner wishes to proceed with this action, he must complete, sign, and

                 return, by November 6, 2020 (that is, within 21 days of the date of this Order), an

                 amended Petition under 28 U.S.C. § 2254 for Writ of Habeas Corpus by a Person

                 in State Custody. He must specify the relief he requests. He also must either

                 clarify or voluntarily dismiss Ground Three. Failure to comply with this directive

                 may result in the dismissal of this action without prejudice.

        2.       If petitioner files a petition that conforms with Rule 2(c), respondent shall file an

                 answer or responsive pleading within 30 days from the filing of the conforming

                 petition.



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      3.       The clerk shall mail a copy of this Order to petitioner with a blank Petition under

               28 U.S.C. § 2254 for Writ of Habeas Corpus by a Person in State Custody.

So Ordered.


                                                     /s/ F. Dennis Saylor IV
                                                     F. Dennis Saylor IV
Dated: October 16, 2020                              Chief Judge, United States District Court




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